                                                                                                                           Case 4:21-cr-00130-YGR Document 41 Filed 09/30/21 Page 1 of 2




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                                                                                                                   7 Attorneys for
                                                                                                                     Defendant Rajnish Shokeen
                                                                                                                   8

                                                                                                                   9                                   UNITED STATES DISTRICT COURT

                                                                                                                  10                                  NORTHERN DISTRICT OF CALIFORNIA
              SIDEMAN & BANCROFT LLP




                                                                                                                                                             OAKLAND DIVISION
                                       ONE EMBARCADERO CENTER, 22ND FLOOR
                                                                            SAN FRANCISCO CALIFORNIA 94111 3711




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                                                                                                                  13 UNITED STATES OF AMERICA,                        Case No. 21-CR-00130 YGR
LAW OFFICES




                                                                                                                  14                     Plaintiff,                   MOTION TO EXTEND TIME FOR
                                                                                                                                                                      VOLUNTARY SURRENDER AND
                                                                                                                  15            v.                                    [PROPOSED] ORDER
                                                                                                                  16
                                                                                                                       RAJNISH SHOKEEN,                               Honorable Yvonne Gonzalez Rogers
                                                                                                                  17
                                                                                                                                         Defendant.
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                                                                                                                       10583-1\4861667                           1                    Case No. 21-CR-00130 YGR
                                                                                                                                 MOTION TO EXTEND TIME FOR VOLUNTARY SURRENDER AND [PROPOSED] ORDER
                                                                                                                           Case 4:21-cr-00130-YGR Document 41 Filed 09/30/21 Page 2 of 2




                                                                                                                   1            Defendant Rajnish Shokeen (“Defendant”) was sentenced on July 22, 2021 and ordered to

                                                                                                                   2 self-surrender to a federal institution designated by the Bureau of Prisons on October 1, 2021 (Dkt.

                                                                                                                   3 35). The Bureau of Prisons has not yet designated an institution to which Defendant is to self-

                                                                                                                   4 surrender. We request that the self-surrender date be extended to November 22, 2021 to allow the

                                                                                                                   5 Bureau of Prisons to make that designation. No previous requests to extend this deadline have

                                                                                                                   6 been made. We notified Government counsel, Assistant United States Attorney Leif Dautch, by

                                                                                                                   7 email early this morning that the Bureau of Prisons has not yet designated the federal institution to

                                                                                                                   8 which Defendant is to report and asking whether the Government had any objection to continuing

                                                                                                                   9 the self-surrender date to November 22, 2021. We have not heard back from Government counsel.

                                                                                                                  10
              SIDEMAN & BANCROFT LLP
                                       ONE EMBARCADERO CENTER, 22ND FLOOR
                                                                            SAN FRANCISCO CALIFORNIA 94111 3711




                                                                                                                  11 DATED: September 29, 2021                   Respectfully submitted,

                                                                                                                  12                                             SIDEMAN & BANCROFT LLP
                                                                                                                  13                                             By:          /s/ Jay R. Weill
LAW OFFICES




                                                                                                                  14                                                   Jay R. Weill
                                                                                                                                                                       Attorneys for Defendant Rajnish Shokeen
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                                                                                                                  18            The Order for Volunteer Surrender ( Dkt. 35) is amended and Defendant Rajnish Shokeen
                                                                                                                  19 shall report to a federal institution designated by the Bureau of Prisons on or before 2:00 p.m. on

                                                                                                                  20 November 22, 2021, rather than October 1, 2021.

                                                                                                                  21            IT IS SO ORDERED.
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                                                                                                                       DATED: September 30, 2021
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                                                                                                                  25                                                The Honorable Yvonne Gonzalez Rogers
                                                                                                                  26                                                United States District Judge

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                                                                                                                       10583-1\4861667                           2                    Case No. 21-CR-00130 YGR
                                                                                                                                 MOTION TO EXTEND TIME FOR VOLUNTARY SURRENDER AND [PROPOSED] ORDER
